                            IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                            WESTERN DIVISION
--------------------------------------------------------- X
JASON WILLIAMS,                                           :
                                                          :
                             Plaintiff,                   :
                                                          : Case No.: 5:19-cv-00475-BO
               vs.                                        :
                                                          :
AT&T MOBILITY, LLC,
                                                          :
                             Defendant.                   :
--------------------------------------------------------- X

                  PLAINTIFF’S NOTICE OF MOTION
  TO COMPEL DEFENDANT AT&T MOBILITY LLC TO PRODUCE DOCUMENTS

       Plaintiff Jason Williams, by and through his undersigned counsel, respectfully moves this

Court for an Order to compel Defendant AT&T Mobility LLC (“AT&T” or “Defendant”) to

produce documents in response to its First Set of Request for Production of Documents, dated

June 5, 2020, pursuant to Federal Rules of Civil Procedure 26 and 34 and the Local Rules of the

Eastern District of North Carolina 26.1 and 34.1.

       In further support of this Motion, Plaintiff submits the accompanying memorandum of

law and the declaration of Christopher N. LaVigne, executed on February 12, 2021, and the

exhibits annexed thereto.

       WHEREFORE, Plaintiff respectfully requests this Court to enter an order requiring

Defendant AT&T Mobility LLC to produce all documents, including specifically email

communications, responsive to Request Nos. 1, 2, 3, 7, and 8 of Plaintiff’s First Set of Requests

for Production of Documents, and requiring Defendant to pay Plaintiff’s reasonable expenses

incurred in making the Motion to Compel, including attorney’s fees in the amount of $25,086.00.




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Dated: February 12, 2021            Respectfully Submitted,


                                    WITHERS BERGMAN LLP


                                    By: _____________________________________
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